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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                         * CASE NO. 18-59120-PMB
                                                *
 JANE DENISE BOSTICK,                           *
 aka DENISE JANE BOSTICK                        * CHAPTER: 13
 AKA DENISE J BOSTICK,                          *
                                                *
                                                *
                  DEBTOR.                       *
                                                *
 JANE DENISE BOSTICK,                           *
                                                *       CONTESTED MATTER
                 MOVANT,                        *
                   VS.                          *
                                                *
 SRP 2012-4 LLC, - CLAIM #9                     *
             RESPONDENT.                        *

                            OBJECTION TO PROOF OF CLAIM

           COMES NOW Jane Denise Bostick, Debtor in the above-styled Chapter 13 case,
   and through counsel files this “Objection to Proof of Claim,” showing to this Honorable
   Court the following:


                                                1.
           Debtor objects to the Proof of Claim filed by SRP 2012-4 LLC (claim number 9
   on the claims register) for the amount of $61874.7. Specifically, Debtor shows said
   claim is filed for the entire principal balance and alleges the note matures on September
   1, 2017. The attached note shows that the loan is a thirty year note that does not mature
   until 2032. Therefore, the claim should be reduced to $36,741.20, the amount of the
   interest and fees.


           WHEREFORE, Debtor prays:
           (a)     That this “Objection to Proof of Claim” be filed, read, and considered;
           (b)     That claim should be reduced to $36,741.20;
           (c)     That this Honorable Court sustain this “Objection to Proof of Claim;” and,

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         (d)    That this Honorable Court grant such other and further relief as it may
                deem just and proper.


                                               Respectfully submitted,
                                               Clark & Washington, LLC

                                               s/__________________________
                                               Brian M. Shockley
                                               GA Bar No. 643752
                                               Attorney for the Debtor
   Clark & Washington, LLC
   3300 Northeast Expressway
   Building 3
   Atlanta, GA 30341
   (404) 522-2222
   Fax(770)220-0685




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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                          * CASE NO. 18-59120-PMB
                                                 *
 JANE DENISE BOSTICK,                            *
 aka DENISE JANE BOSTICK                         * CHAPTER: 13
 AKA DENISE J BOSTICK,                           *
                                                 *
                                                 *
                  DEBTOR.                        *
                                                 *
 JANE DENISE BOSTICK,                            *
                                                 *       CONTESTED MATTER
                  MOVANT,                        *
                    VS.                          *
                                                 *
 SRP 2012-4 LLC, - CLAIM #9                      *
             RESPONDENT.                         *

           NOTICE OF HEARING ON OBJECTION TO PROOF OF CLAIM

          PLEASE TAKE NOTICE that the Debtor in the above-referenced matter filed
   an “Objection” seeking to disallow claim of SRP 2012-4 LLC (claim number 9 on the
   claims register) until such time when it is amended to reflect creditor's unsecured
   deficiency balance.

          PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the
   matter in Court Room 1202 of the US Courthouse, 75 Ted Turner Drive, SW, Atlanta,
   GA 30303, at 10:00 AM, on October 18, 2018.

          Your rights may be affected by the court’s ruling on these pleadings. You should
   read these pleadings carefully and discuss them with your attorney, if you have one in
   this bankruptcy case. (If you do not have an attorney, you may wish to consult one.) If
   you do not want the court to grant the relief sought in these pleadings or if you want the
   court to consider your views, then you and/or your attorney must attend the hearing. You
   may also file a written response to the pleading with the Clerk at the address stated
   below, but you are not required to do so. If you file a written response, you must attach a
   certificate stating when, how and on whom (including addresses) you served the

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   response. Mail or deliver your response so that it is received by the Clerk at least two
   business days before the hearing. The address of the Clerk's Office is Clerk, U. S.
   Bankruptcy Court, Suite 1340, 75 Ted Turner Drive SW, Atlanta Georgia 30303. You
   must also mail a copy of your response to the undersigned at the address stated below.


                                                 Respectfully submitted,
                                                 Clark & Washington, LLC

                                                 s/__________________________
                                                 Brian M. Shockley
                                                 GA Bar No. 643752
                                                 Attorney for the Debtor
   Clark & Washington, LLC
   3300 Northeast Expressway
   Building 3
   Atlanta, GA 30341
   (404) 522-2222
   Fax (770)220-0685




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                               CERTIFICATE OF SERVICE


          I certify that I served the Debtor with a true and correct copy of the within the and
   foregoing “Notice of Hearing on Objection to Proof of Claim” and “Objection to Proof of
   Claim” by placing the same in the United States Mail with adequate postage affixed to
   ensure delivery and addressed as follows:
   Jane Denise Bostick                            SRP 2012-4 LLC
   3380 Stratton Ln                               c/o Angela Kristen Viale, BK Asset Mgr.
   Dacula, GA 30019                               SN Servicing
                                                  323 5th Street
                                                  Eureka CA 95501


          I further certify that, by agreement of the parties, Melissa J Davey, Standing
   Chapter 13 Trustee, was served via the ECF electronic mail/noticing system.




                                                  Dated this 09/12/2018

                                                  s/
   Clark & Washington, LLC                        Brian M. Shockley
   3300 Northeast Expressway                      GA Bar No. 643752
   Building 3
   Atlanta, GA 30341
   (404) 522-2222
   Fax(770)220-0685




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